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                      UNITED STATES COURT OF APPEALS
                          FOR THE EIGHTH CIRCUIT

                                          No: 21-3268

                                     The Arc of Iowa, et al.

                                                     Appellees

                                                v.

 Kimberly Reynolds, In her official capacity as Governor of Iowa and Ann Lebo, In her official
                 capacity as Director of the Iowa Department of Education

                                                     Appellants

                            Ankeny Community School District, et al.


______________________________________________________________________________

         Appeal from U.S. District Court for the Southern District of Iowa - Central
                                   (4:21-cv-00264-RP)
______________________________________________________________________________

                                            ORDER

       Appellants’ motion to expedite the briefing and oral argument in this appeal has been

considered by the court, and the motion is granted. Appellants’ brief, addendum and appendix

are due October 18, 2021, and Appellees’ brief is due November 5, 2021. Appellants’ reply brief

is due November 10, 2021.

       The matter will be set for oral argument during the week of November 15-19, 2021, in

Omaha, Nebraska. The parties will be notified of the date and time of argument.

                                                       October 15, 2021




Order Entered at the Direction of the Court:
Clerk, U.S. Court of Appeals, Eighth Circuit.
____________________________________
            /s/ Michael E. Gans




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